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                               UNITED STATE DISTRICT COURT

                                   DISTRICT OF NEW JERSEY


   UNITED STATES OF AMERICA
                                                     Honorable Stanley R. Chester
                    v.                               Case No. 11 Cr. 277
   MICHAEL F DURANTE, Ct at
                                                     Order Modifying Conditions of Pr
                                                                                      e
                                                     Trial Release

                   This matter having been opened to
                                                         the Court by defendant ANDRE DO
                                                                                                 MANDO,
  Robert J. Olejar, Esq., appearing,
                                        for an Order modifying the condit
                                                                            ions of pre-trial release
  regarding Active GPS monitoring
                                        [“GPS”], due to the several adjourn
                                                                              ments of the trial in this
  matter, and the United States Attorn
                                      ey for the District of New Jersey,
                                                                             by Anthony J. Mahajan,
 Assistant U.S. Attorney appearing,
                                         and Pre-Trial Services having con
                                                                             sented to the request; and it
 appearing to the Court that Defend
                                    ant     has been on Active GPS monitoring
                                                                                   since March 28, 2011,
 without incident, and it further app
                                        earing to the Court that Defendant
                                                                             has heretofore complied
 with all restrictions of pre-trial rele
                                        ase imposed by this Court, and for
                                                                             good cause shown:

                  IT IS, on this           day of                    ,   2012, ORDERED that the
Defendant’s request is hereby gra
                                 nted; and


                IT IS FURTHER ORDERED, that
                                                      Defendant Andre Dornando’s con
                                                                                    ditions of
pretrial release be, and hereby are,
                                       modified so as to vacate the conditi
                                                                           on   requiring Active GPS
monitoring; and
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                  IT IS FUR’[HER ORflERED, that
                                                         US. PreTha1 Services remove all Active
  (IFS monitoring devices and equipm
                                          ent from the person and residence
                                                                              of [)efendant. and
                 IT IS FURTHER ORDERED.
                                                    that Defendant continue to com
                                                                                     ply with all other
  conditions of pre-trial release pen
                                     ding sentencing.

                                                                                .




                                             iö       ABLE STANLEY R. CHES
                                                                           LER
                                             United States District Judge

 I hereby consent to the form and
                                  entry
 of this Order.



Anthony J, Mahajan, ,USA



Robert J. Ojar. Esq..
Counsel for Defendant Andre
                            Domand     o




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